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 4
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 5 EDGAR HERRERA

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-00131 TLN
12                                Plaintiff,            STIPULATION AND ORDER
                                                        CONTINUING JUDGMENT AND
13   v.                                                 SENTENCING
14   EDGAR HERRERA,
15                                Defendant,
16

17
                                               STIPULATION
18
            Plaintiff, United States of America, by and through its counsel of record, and defendant,
19

20 EDGAR HERRERA, by and through his counsel of record, hereby stipulate that judgment and

21 sentencing, currently scheduled for September 13, 2018, may be continued to September 27, 2018, at

22 9:30 a.m. This request for a continuance is made on the grounds that there is a scheduling conflict

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     on the part of the defense. Moreover, there are issues related to sentencing that remain unresolved
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     and which constitute good cause to change the time limits for sentencing within the meaning of
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     F.R.Crim.P. 32(b)(2). Specifically, the parties need additional time to determine whether there are
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     grounds for a departure from the applicable sentencing guideline range.
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28          The United States Probation Department has been consulted about this continuance and has
                                                   1
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     no objection.
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            Counsel for the government has reviewed this stipulation and proposed order and has
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 3 authorized counsel for EDGAR HERRERA to sign and file it on his behalf.

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 5 IT IS SO STIPULATED.

 6
                                                              McGregor W. Scott
 7                                                            United States Attorney

 8 DATED: August 1, 2018                                       By: /s/ Samuel Wong
                                                               Samuel Wong
 9                                                             Assistant United States Attorney

10
     DATED: August 1, 2018                                    /s/Scott Cameron
11                                                            Scott Cameron
                                                              Attorney for Edgar Herrera
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13

14                                           ORDER

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            IT IS SO ORDERED this 2nd day of August, 2018.
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                                                             Troy L. Nunley
21                                                           United States District Judge

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